     Case: 1:20-cv-07279 Document #: 50 Filed: 04/12/21 Page 1 of 3 PageID #:3197




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

PEANUTS WORLDWIDE LLC,
                                                      Case No. 20-cv-07279
                Plaintiff,
                                                      Judge Mary M. Rowland
v.
                                                      Magistrate Judge Sunil R. Harjani
HHAC, et al.,

                Defendants.


                                      NOTICE OF FILING

        PLEASE TAKE NOTICE that Plaintiff, by its counsel, has filed Plaintiff’s Motion for

Entry of Default and Default Judgment against all remaining Defendants.1 Pursuant to Tenth

Amended General Order 20-0012, Plaintiff has not noticed the Motion for a hearing, but Plaintiff

is available for a telephonic hearing if requested by the Court.




1
 This Court entered a Final Judgment Order against the Defendants identified on Schedule A, with the
exception of Defendants Orrios, Zhoukuang, Qiujian2222, Sabah Fashion, Erpinger, and Sivas on March
17, 2021. [45]. The present Motion for Entry of Default and Default Judgment against all remaining
Defendants applies to the Defendants in Schedule A listed above.

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   Case: 1:20-cv-07279 Document #: 50 Filed: 04/12/21 Page 2 of 3 PageID #:3198




Dated this 12th day of April 2021.   Respectfully submitted,

                                     /s/ Justin R. Gaudio
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                                     Isaku M. Begert
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                                     Counsel for Plaintiff Peanuts Worldwide LLC




                                        2
    Case: 1:20-cv-07279 Document #: 50 Filed: 04/12/21 Page 3 of 3 PageID #:3199




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of April 2021, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, I will electronically publish the

documents on a website and I will send an e-mail to the e-mail addresses identified in Exhibit 3

to the Declaration of Carrie J. Dumont and any e-mail addresses provided for Defendants by

third parties that includes a link to said website.



                                                /s/ Justin R. Gaudio
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                                                Counsel for Plaintiff Peanuts Worldwide LLC




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